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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 24, 2021
______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     ------------------------------------------------------------
     In re                                                        §       Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1 §                               Case No. 19-34054-sgj11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  §       No. 21-03020
                             Plaintiffs,                          §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------

                           ORDER DENYING UBS’S MOTION
                  FOR EXPEDITED HEARING ON FOREIGN NON-PARTY
            SENTINEL REINSURANCE, LTD.’S MOTION FOR PROTECTIVE ORDER




     1
              The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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         Upon consideration of UBS’s Motion for Expedited Hearing on Foreign Non-Party

  Sentinel Reinsurance, Ltd.’s Motion for Protective Order [Adv. Dkt. No. 110] (the “Motion to

  Expedite”) and Foreign Non-Party Sentinel Reinsurance, Ltd.’s Opposition to Plaintiffs’ Motion

  for an Expedited Hearing [Adv. Dkt. No. 111]; and it appearing that this Court has jurisdiction

  over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this proceeding is a

  core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue of this proceeding and

  the Motion to Expedite is proper in this District pursuant to 28 U.S.C. §§ 1408-1409; and due,

  adequate, and sufficient notice of the Motion to Expedite having been given; and having

  determined that the relief requested is not warranted at this time, it is hereby ORDERED:

         1.      The Motion to Expedite is DENIED.

         2.      The hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for

  Protective Order will occur as scheduled in the Notice of Hearing on Foreign Non-Party Sentinel

  Reinsurnce, Ltd.’s Motion for Protective Order [Adv. Dkt. No. 107].

                                       ### End of Order ###
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   Order prepared by:

    LATHAM & WATKINS LLP

    By /s/ Sarah Tomkowiak

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    Counsel for UBS Securities LLC and UBS
    AG London Branch
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
UBS Securities LLC,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03020-sgj
Highland Capital Management, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Sep 24, 2021                                               Form ID: pdf001                                                            Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 26, 2021:
Recip ID                   Recipient Name and Address
aty                    +   Jamie Wine, LATHAM & WATKINS LLP, 885 Third Ave., New York, NY 10022-4874
aty                    +   Jeffrey E. Bjork, Latham & Watkins LLP, 355 S. Grand Ave., Ste. 100, Los Angeles, CA 90071-3104
aty                    +   Katherine George, LATHAM & WATKINS LLP, 330 North Wabash Avenue, Ste. 2800, Chicago, IL 60611-3695
aty                    +   Sarah Tomkowiak, Latham & Watkins LLP, 555 Eleventh Street, NW, Suite 1000, Washington, DC 20004-1359
aty                    +   Zachary F. Proulx, LATHAM & WATKINS LLP, 1271 Avenue of the Americas, New York, NY 10020-1401
ust                    +   Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Sep 24 2021 20:51:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Sep 24 2021 20:51:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Sep 24 2021 20:51:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 26, 2021                                            Signature:           /s/Joseph Speetjens
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District/off: 0539-3                                              User: mmathews                                                        Page 2 of 2
Date Rcvd: Sep 24, 2021                                           Form ID: pdf001                                                      Total Noticed: 9



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 24, 2021 at the address(es) listed
below:
Name                            Email Address
Andrew Clubok
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                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
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                                ce@sidley.com

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Zachery Z. Annable
                                on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 17
